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                      UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF NEW JERSEY


   LAURI GORDON,
                                       Civil Action No. 2:16-cv-03093-
        Plaintiff,                     WJM-MF

              vs.
                                       Motion Returnable: December
                                       19, 2016
   BANK OF AMERICA, N.A.;
   SERERUS, INC.; FEDERAL
   NATIONAL MORTGAGE
   ASSOCIATON; JOHN DOES I-X,

        Defendants.


     OPPOSITION OF DEFENDANTS’ MOTIONS TO DISMISS THE COMPLAINT


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                                PRELIMINARY STATEMENT

        The    motions        before    the         Court    to     dismiss     Defendant’s

 complaint pursuant to Fed.R.Civ.P. 12(b)(1) and 12(b)(6) must be

 rejected and the case permitted to proceed on the merits.                                The

 Complaint sets forth sufficient facts and allegations to surpass

 the     minimum       pleading        standards        and       satisfy       Fed.R.Civ.P.

 12(b)(6).          Defendant’s        Fed.R.Civ.P.           12(b)(1)      jurisdictional

 arguments that the claims are precluded have no basis in law or

 fact and are presented as a distraction from the merits of the

 case.        The   jurisdictional        argument          alleges      that   Plaintiff’s

 claims are barred by virtue of a separate foreclosure lawsuit.

 The    factual     record     will     show    that        the   foreclosure      has    been

 dismissed      with     no     final     judgment          being     obtained,     and     no

 enforceable interlocutory orders existing.                           The law will show

 that New Jersey’s foreclosure jurisprudence has a very limited

 joinder rule, favoring that parties bring affirmative claims for

 fraud, and breach of modification protocol in separate lawsuits.

 Accordingly, Plaintiff’s claims should be permitted to proceed

 at this time.

                                  PROCEDURAL HISTORY

        Plaintiff Lauri Gordon filed the complaint commencing this

 litigation on May 31, 2016 bringing three causes of action under

 Breach of Contract, New Jersey Consumer Fraud Act and the Fair

 Debt    Collection      Practices       Act.       [ECF    1]      On   August    15,    2016

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 Plaintiff       filed   a   First    Amended     Complaint    adding     causes    of

 action for Common Law Fraud, and Breach of Duty of Good Faith

 and Fair Dealing. [ECF 19]            On September 21, 2016 Defendant Bank

 of America moved for dismissal of the First Amended Complaint

 pursuant to Fed.R.Civ.P. 12(b)(1) and 12(b)(6). [ECF 22]                           On

 September 21, 2016 Defendants Seterus, Inc. and Federal National

 Mortgage Association (“Fannie Mae”) moved for dismissal of the

 First Amended Complaint pursuant to Fed.R.Civ.P. 12(b)(1) and

 12(b)(6).

       As referenced in the Complaint and First Amended Complaint

 as well as the Motion to Dismiss Briefs of Defendants a separate

 lawsuit was filed by Bank of America, N.A. on May 19, 2014

 seeking    to    foreclose    on     Plaintiff’s    mortgage      loan   under    New

 Jersey docket F-019812-14. [ECF 19 ¶73].                   On September 2, 2016

 New Jersey State Court issued a warning that the foreclosure

 lawsuit would be dismissed for lack of prosecution on or about

 October   2,     2016   unless      Bank   of   America,   N.A.   took   specified

 action to enforce the lawsuit. [Certification of Adam Deutsch ¶-

 -] On October 7, 2016 the New Jersey State Court entered an

 Order dismissing the foreclosure lawsuit. [Certification of Adam

 Deutsch: Exhibit 1]         As of the filing of this brief, there is no

 active foreclosure litigation against Plaintiff Lauri Gordon and

 no state court judgment of foreclosure has been obtained.



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                                   STATEMENT OF FACTS

         Plaintiff owns and resides in the real property that is the

  subject      of   this    litigation.     [ECF        19   ¶3]            In   February    2007

  Plaintiff entered into a refinance mortgage loan agreement with

  Premier Bank. [ID ¶39]             After the loan closed it was sold to

  Fannie Mae and servicing of the loan was transferred to Bank of

  America,      N.A.   (“BANA”)      [Id.     ¶¶40-42]             As       servicer    of    the

  mortgage loan BANA acted on behalf of Fannie Mae.                              [Id. ¶43]

         In 2009 Plaintiff suffered an economic hardship.                            [Id. ¶44]

  To avoid defaulting on the mortgage loan Plaintiff sold personal

  property and liquidated her retirement savings. [Id. ¶45]                                  While

  liquidating        her    retirement      savings,          Plaintiff             proactively

  contacted BANA to seek loss mitigation assistance. [Id. ¶46]

         In or about September 2009 an employee representative of

  BANA told Plaintiff by phone that loss mitigation options would

  only    become    available      to   Plaintiff        if   she           defaulted   on    the

  mortgage loan. [Id. ¶47]              Relying on the instructions of BANA

  Plaintiff did not make the mortgage loan payment due October 1,

  2009, November 1, 2009 and December 1, 2009.                              [Id. ¶49]       On or

  about    that     same    time   Plaintiff       submitted            a    loss    mitigation

  application to BANA. [Id. ¶50]

         In or about December 4, 2009 BANA told Plaintiff by phone

  that    in   order   to    be    eligible       for    available           loss    mitigation

  programs she had to make a one-time payment of $2,956.10. [Id.

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  ¶52]     Plaintiff made a one time payment payable to “BAC Home

  Loans Servicing LP” in the amount of $2,956.10. [Id. ¶53]                        Soon

  thereafter on or about December 18, 2009 Plaintiff received a

  phone call from BANA confirming that she was approved for a

  trial    loan      modification     requiring       three   monthly    payments      of

  $1,614.17     commencing        February    1,    2010.   Id.   ¶54.    During       the

  December 18, 2009 phone call BANA told Plaintiff that her check

  in the amount of $2,956.10 had not been received and demanded

  that Plaintiff send a second check in the same amount. Id. ¶55.

  Acting in reliance on BANA’s representation, Plaintiff sent a

  second      check    in   the    amount    of     $2,956.10.    [Id.   ¶56]      BANA

  deposited both of Plaintiff’s checks in the amount of $2,956.10.

  Id. ¶57.

         In    late    December     2009     BANA    provided     Plaintiff     with    a

  written Home Affordable Modification Program Trial Period Plan

  (“HAMP TPP”). Id. ¶58.           The Trial Modification Agreement States:

                If I am in compliance with this Trial Period Plan
                (the “Plan”) and my representations in Section 1
                continue to be true in all material respects,
                then the Servicer will provide me with a Home
                Affordable Modification Agreement (“Modification
                Agreement”), as set forth in Section 3, that
                would amend and supplement (1) the Mortgage on
                the Property, and (2) the Note secured by the
                mortgage.
                . . .

                1.     My Representations.           I certify, represent to
                       Servicer and agree:



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               A. I am unable to afford my mortgage payments
               for   the  reasons    indicated   in    my   Hardship
               Affidavit and as a result, (i) I am either in
               default or believe I will be in default under
               the Loan Documents in the near future, and (ii)
               I do not have sufficient income or access to
               sufficient liquid assets to make the monthly
               mortgage payments now or in the near future;
               B. I live in the Property as my principal
               residence,   and   the   Property    has   not   been
               condemned;
               C. There has been no change in the ownership of
               the property since I signed the loan documents;
               D. I am providing or already have provided
               documentation for all income that I receive (and
               I understand that I am not required to disclose
               any child support or alimony that I receive,
               unless I wish to have such income considered to
               qualify for the offer);
               E. Under penalty of perjury, all documents and
               information I have provided to Servicer pursuant
               to this Plan, including the documents and
               information regarding my eligibility for the
               program are true and correct; and
               F. If servicer requires me to obtain credit
               counseling, I will do so.

               [ECF 19 ¶60]

  Plaintiff signed the HAMP TPP and returned it to BANA in the

  manner and time required. Id. ¶61.                Plaintiff made each of the

  three payments required by the HAMP TPP.                 Id. ¶63-64.   Plaintiff

  met   all    conditions     of   the       HAMP    TPP     and   her   financial

  circumstances did not materially change during the period of the

  HAMP TPP.    Id. ¶65      Plaintiff made an additional three payments

  in the amount of $1,614.17 to BANA in May, June and July 2010.

  Id. ¶68.    In total Plaintiff paid BANA $15,597.22 in connection

  with the HAMP TPP.


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         Despite Plaintiff’s complete compliance with the HAMP TPP

  BANA    refused   to    provide    Plaintiff   with   a   permanent     loan

  modification. Id. ¶69.       By letter dated June 3, 2010 BANA wrote

  to Plaintiff:

              We have reviewed your request for a loan
              modification under the federal government’s Home
              Affordable Modification Program.    Unfortunately,
              your loan is not eligible for a Home Affordable
              Modification for the reason stated below:
              ……

              Excessive Forbearance. Your loan is not eligible
              for a Home Affordable Modification because we are
              unable to create an affordable payment equal to
              31% of your reported monthly gross income without
              changing the terms of your loan beyond the
              requirements of the program.   In other words, to
              create   an  affordable  payment   for  you,  the
              investor (owner) of your loan would be required
              to delay collecting too large a portion of your
              principal balance until the loan pays off, beyond
              what the Home Affordable Modification Program
              allows.

              [Id. ¶70]


  The basis for denial “Excessive Forbearance” is not a basis for

  denying Plaintiff a Permanent Modification under the terms of

  the HAMP TPP. Id. ¶72.

         On May 19, 2014 BANA filed a foreclosure lawsuit in New

  Jersey Superior Court under docket F-019812-14.            [Id. ¶73]     On

  February    20,   2015    New     Jersey   Superior   Court   entered    an

  interlocutory order striking Lauri Gordon’s contesting pleading

  in the foreclosure litigation. [ECF 22-4 p15]              On October 7,


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  2016    the    foreclosure        lawsuit        was       dismissed        without    prejudice

  pursuant      to    an    Order       entered        by    the    Superior      Court    of    New

  Jersey.       [Certification           of   Adam      Deutsch      Exhibit       1].      As    of

  October 7, 2016 there is no active foreclosure lawsuit.                                   At no

  time was a final judgment in foreclosure entered.



                                          LEGAL ARGUMENT

     I.     LEGAL STANDARD ON THE MOTION TO DISMISS BEFORE THE COURT.

          Defendants        move    before     the          Court   for       dismissal    of    the

  Complaint pursuant to Fed.R.Civ.P. 12(b)(1) and 12(b)(6).

          Federal      Rule        of     Civil        Procedures         12(b)(1)        requires

  dismissal      of    claims       where     the       District       Court     lacks    subject

  matter jurisdiction.                  This Court has jurisdiction to hear the

  claims brought by Plaintiff pursuant to 28 U.S.C. §1331 because

  Count    V    of    the    Complaint        is     based      upon      a   federal     statute.

  Alternatively, the Court has jurisdiction pursuant to 28 U.S.C.

  §1332 based upon diversity of the parties and the amount in

  controversy exceeding $75,000.

          In support of the Fed.R.Civ.P. 12(b)(1) argument, Defendant

  incorrectly claims that Plaintiffs causes of action are barred

  by the Rooker-Feldman doctrine.                      The argument is based upon the

  mistaken belief that Plaintiffs’ claims effectively seek review

  of judicial decisions rendered by the State Court of New Jersey.

  Discussed in detail in section II of this brief, that doctrine

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  does    not    apply.        The    underlying            state    action      referenced         by

  Defendant was dismissed by the New Jersey State Court on October

  7, 2016 without ever reaching a judgment or other resolution on

  the    merits.        Because      that     matter         was    dismissed         and    has    no

  binding      authority       on    the    parties,         application         of    the    Rooker

  Feldman doctrine cannot apply.                       Under the applicable standard,

  this Court retains subject matter jurisdiction on this case.

         The     legal      standard         for        a   motion     to        dismiss       under

  Fed.R.Civ.P. 12(b)(6) is well settled and straightforward.                                       The

  purpose of the motion to dismiss is to test the sufficiency of

  the complaint.            See Schuer v. Rhodes, 416 U.S. 232, 236, 94

  S.Ct. 1683, 1686 (1974).                 In doing so the Court is to follow the

  legal standard set forth by the U.S. Supreme Court in Bell Atl.

  Corp. v. Twombly, 550 US. 544 (2007) and Ashcroft v. Iqbal, 556

  U.S. 662, 696 (U.S. 2009).

         Under the standard, the Court is to treat all allegations

  in    the    complaint     as     true    and        to   view    them    in    a    light    most

  favorable to the claimant.                 Simon v. FIA Card Servs., N.A., 732

  F.3d    259,    264    (3d      Cir.     2013).           Motions    to    dismiss         brought

  pursuant to Fed.R.Civ.P. 12(b)(6) may only be granted if a court

  finds the Plaintiff has failed to set forth fair notice of what

  the claim is and the grounds upon which it rests.                                     Bell Atl.

  Corp. v. Twombly, 550 US. 544, 555 (2007).                                The Court is not

  charged      with   the    duty     to     determine         whether      the       claimant      is

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  likely      to        ultimately     prove     its   legal     claims,       instead      the

  claimant must be permitted to proceed so long as the allegations

  if proven could result in establishing liability.                            See Ashcroft

  v.    Iqbal,      556     U.S.   662,    696   (U.S.   2009)       (citing      Neitzke    v.

  Williams, 490 U.S., 319, 327 (1989)).

         Reviewing the Complaint and assuming all facts to be true,

  there is no question that Plaintiff’s claim for relief is viable

  under the Fed. R. Civ. P. 12(b)(6) standard.                         Plaintiff has set

  forth      the    factual     basis     for    the   claim    with    citation      to    the

  applicable            statute(s).        Accordingly,      the     Court     should      deny

  motions of the several defendants so the case may proceed on the

  merits.

       II.   PLAINTIFF’S CLAIMS ARE NOT BARRED BY PRECLUSIONARY
             DOCTRINES OF LAW AS ALLEGED BY BANA.

         Section II of BANA’s legal brief argues that Plaintiff’s

  First Amended Complaint should be deemed barred pursuant to the

  Rooker-Feldman            Doctrine,     the    Doctrine      of    Res    Judicata,       the

  Doctrine         of    Collateral     Estoppel,      and     the   Entire       controversy

  Doctrine.              Defendant’s      arguments    are     built       upon   inaccurate

  assertions of fact.                There are two key reasons the preclusion

  doctrine arguments must fail.                  (1) The New Jersey Superior Court

  foreclosure lawsuit under state docket F-019812-14 was dismissed

  on October 7, 2016 without a final judgment having ever been

  obtained.         None of the interlocutory orders entered in that case


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  are binding on the parties following dismissal and there can be

  no preclusive effect to the state court action. (2) Contrary to

  the arguments of the Defendants, none of the affirmative claims

  in this litigation were subject to mandatory joinder.                          N.J.Ct.R.

  4:64-5.

            a. The Rooker Feldman Doctrine Does Not Apply to the Case
               Before this Court.

          The litigation before this Court is the only open cause of

  action before any state or federal court concerning the mortgage

  loan contract described in paragraph 39 of the First Amended

  Complaint.       There has never been a judgment or other order of

  final resolution entered in relation to the mortgage loan or

  real property financing transaction that are at the heart of

  this litigation.            On October 7, 2016 the state court litigation

  that    previously         proceeded   parallel     to    this   action        under   New

  Jersey docket F-19812-14 was dismissed without prejudice by the

  state court.       Defendant’s argument that the claims in this case

  are    barred    by     the    Rooker-Feldman      Doctrine      must     be    rejected

  because the jurisdictional doctrine only applies if the moving

  party    can    first      demonstrate    the    existence       of   a   state    court

  judgment.

          The Rooker-Feldman Doctrine precludes district courts from

  exercising jurisdiction over a claim if the relief requested

  would    reverse      or    void   a   state    court    judgment.      Taliaferro      v.


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  Darby Twp. Zoning Bd., 458 F.3d 181, 192 (3d Cir. 2006) (citing

  Whiteford v. Reed, 155 F.3d 671, 674 (3d Cir. 1998)).                            The

  United States Supreme Court has explained that application of

  the doctrine is extremely narrow and reserved for “cases brought

  by state-court losers complaining of injuries caused by state-

  court judgments rendered before the district court proceedings

  commenced and inviting district court review and rejection of

  those judgments.        Exon Mobil Corp. v. Saudi Basic Indus. Corp.,

  544    U.S.    280,   284    (2005).       Defendant     does    not    claim    the

  existence of a state court judgment because none exist.

         Application      of    the      Rooker-Feldman      Doctrine     does      not

  prohibit parallel state and federal litigation.                  “When there is

  parallel      state   and    federal    litigation,     Rooker-Feldman     is     not

  triggered simply by the entry of judgment in state court.” Exon

  Mobil   Corp.    v.   Saudi    Basic     Indus.   Corp.,   544   U.S.    280,    292

  (2005). The Supreme Court has repeatedly held “the pendency of

  an action in the state court is no bar to proceedings concerning

  the same matter in the Federal court having jurisdiction.” Id.

  (quoting McClellan v. Carland, 217 U.S. 268, 282 (1910).)                       Thus,

  even if the state court litigation were currently active but not

  at    final   adjudication,     the     Rooker-Feldman     Doctrine     would     not

  apply. 1


  1
    Defendants argue incorrectly that the Rooker-Feldman Doctrine
  applies in this case by virtue of the February 20, 2015 Superior
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           b. The Doctrine of Res Judicata is Not Applicable as a
              Bar to Plaintiff’s Claims.

         The doctrine of res judicata is not applicable to the case

  before   the   Court.    As     defendant    explains   in   its   brief,   Res

  Judicata applies when there has been “(1) a final judgment on

  the merits in a prior suit; (2) involving the same parties or

  their privies; and (3) a subsequent suit based on the same cause

  of action.” Elkadrawy v. Vanguard Grp., Inc., 584 F.3d 169, 172

  (3d Cir. 2009).      The purpose of the doctrine is to preclude a

  court from disturbing a judgment on the merits “in a subsequent

  suit   involving   the   same    parties.”    Cramer    v.   General   Tel.   &

  Electronics Corp., 582 F.2d 259, 266 (3d Cir. Pa. 1978)

         By definition of the doctrine, Res Judicata does not apply

  where no final adjudication has occurred.                The prior lawsuit

  relied upon by Defendant is the state court foreclosure action


  Court of New Jersey Order striking Ms. Gordon’s answer in the
  foreclosure litigation.    [See ECF 22-1 p24-47; ECF 22-4 p15]
  New Jersey’s foreclosure procedure is a bifurcated system in
  which orders to strike an answer and/or enter summary judgment
  by the trial court do not result in final judgment.      Instead,
  these orders are interlocutory.     New Jersey has a bifurcated
  foreclosure process whereby the Trial Court first enters an
  interlocutory order deeming a pleading uncontested pursuant to
  4:64(1)(c).   Thereafter the foreclosing plaintiff can move for
  final judgment pursuant to N.J.Ct.R. 4:64(1)(d).      The second
  step of the process is where the amount due on the loan is
  determined, and it is not until entry of judgment is entered
  pursuant   to  N.J.Ct.R.   4:64(1)(d)(4)  that   the  foreclosing
  plaintiff is entitled to a sheriff sale.          The foreclosure
  defendant does not become entitled to an appeal as a matter of
  right pursuant to N.J.Ct.R. 2:2-3 until final judgment is
  entered. In the underlying foreclosure case, only interlocutory
  orders were entered prior to the October 7, 2016 dismissal.
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  filed under New Jersey docket F-019812-14.                              That lawsuit was

  dismissed by the state court on October 7, 2016.                                  There was

  never a final judgment on the merits in the foreclosure lawsuit.


              c. The Doctrine of Collateral Estoppel is Not Applicable
                 as a Bar to Plaintiff’s Claims.

         Collateral        estoppel,          also    known       as    issue     preclusion,

  prohibits re-litigation of issues addressed in prior litigation

  when    certain     criteria          are   met.       “The     prerequisites        for   the

  application of issue preclusion are satisfied when :’(1) the

  issue sought to be precluded [is] the same as that involved in

  the prior action; (2) that issue [was] actually litigated; (3)

  it [was] determined by a final and valid judgment; and (4) the

  determination           [was]     essential          to     the       prior     judgment.’”

  Burlington N.R.R. v. Hyundai Merchant Marine Co., 63 F.3d 1227

  (3d Cir. 1995)(quoting In re Graham, 973 F.2d 1089, 1097 (3d

  Cir. 1992).

         In    this   case,       the    Court    need      not   far    to     determine    the

  doctrine of collateral estoppel does not apply.                             There was never

  a final and valid judgment entered in the New Jersey Superior

  Court   foreclosure         litigation.             Defendant        BANA   argues    in   its

  brief       at   page    18-19    that       interlocutory           orders    can   trigger

  collateral estoppel.              In doing so, Defendant relies upon the

  1991 Third Circuit Court of Appeals case In re Brown which dealt

  with a bankruptcy petition filed a homeowner facing foreclosure.

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  The facts of In re Brown are materially distinguishable from the

  case before this Court.

         The facts of In re Brown are complicated.             In 1986, facing

  multiple business debts, Brown’s business filed bankruptcy and

  within the action negotiated a settlement whereby Brown issued

  three new personal mortgage guarantees and “waived any claims he

  might have against the bank.”           In re Brown 951 F.2d 564, 566 (3d

  Cir. 1991).        Brown’s business failed to uphold its obligation

  and in 1988 the bank filed to foreclose on two of the mortgages

  issued by Brown.       Id.    The Browns filed an answer and asserted

  four affirmative counterclaims.              The state court entered summary

  judgment in favor of the bank and struck Brown’s affirmative

  defenses     and    counterclaims.             The   Court   explains   “Soon

  thereafter, the bank submitted a certification of the amount

  due.     The Browns requested a hearing on that issue, in part

  because of an assertion that the bank did not adequately account

  for    the    proceeds       of   the        Repro   [business]   collateral

  liquidation.” Id.      Before the hearing took place in state court,

  Mrs. Brown filed a personal Chapter 11 bankruptcy petition in

  which identical claims were asserted in an effort to invalidate

  the mortgage interest of the creditor to those asserted within

  the state court litigation.             The Court of Appeals found that

  because the claims asserted before both courts were identical,

  and one court had already heard the claims and issued findings

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  that   remained   in   place,     the    doctrine      of   collateral   estoppel

  applied.

         Before this Court, the facts do not mimic those of In re

  Brown.     Any interlocutory orders of the Superior Court of New

  Jersey entered in the foreclosure case are non-binding on the

  parties subsequent to the October 7 dismissal of the foreclosure

  lawsuit.    Moreover, unlike In re Brown, Gordon did not raise any

  of the affirmative claims before this Court in the foreclosure

  lawsuit.    There was never a determination of Ms. Gordon’s rights

  asserted    herein,    by   another      Court   of   competent     jurisdiction.

  Accordingly, the doctrine of Collateral Estoppel does not apply.



           d. The Entire Controversy Doctrine is Not Applicable as a
              Bar to Plaintiff’s Claims.

         Plaintiff’s claims are not barred by the Entire Controversy

  Doctrine.      The doctrine imposes mandatory joinder of claims in

  certain circumstances and imposes a bar on later assertion of

  claims   not    brought     in   the    original      litigation.      Here,   the

  doctrine is inapplicable.              In 2015 the Third Circuit Court of

  Appeals described the core of the doctrine as follows:

         We have described the entire controversy doctrine as
         ‘New Jersey’s specific, and idiosyncratic, application
         of traditional res judicata principles’      Rycocline
         Prods., Inc. v. C&W Unlimited, 109 F.3d.883, 886 (3d
         Cir. 1997). A mainstay of New Jersey civil procedure,
         the doctrine encapsulates the state’s longstanding
         policy judgment that ‘the adjudication of a legal
         controversy should occur in one litigation in only one

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        court.’ Codgdell v. Hosp. Ctr. At Orange, 116 N.J. 7
        (N.J. 1989).

        Ricketti v. Barry 775 F.3d 611, 613 (3d Cir. 2015)


        New Jersey’s entire controversy doctrine as set forth under

  N.J.Ct. Rule 4:30A has no application to this case because the

  broad spectrum of the doctrine does not apply to foreclosure

  litigation.     Foreclosures are subject to an independent joinder

  rule.

        Rule 4:64-5.    Joinder of claims in foreclosure

        Unless the court otherwise orders on notice and for
        good cause shown, claims for foreclosure of mortgages
        shall not be joined with non-germane claims against
        the mortgagor or other persons liable on the debt.
        Only germane counterclaims and cross-claims may be
        pleaded in foreclosure actions without leave of court.
        Non-germane claims shall include, but not be limited
        to, claims on the instrument of obligation evidencing
        the   mortgage   debt,    assumption   agreements  and
        guarantees. A defendant who chooses to contest the
        validity, priority or amount of any alleged prior
        encumbrance shall do so by filing a cross-claim
        against that encumbrancer, if a co-defendant, and the
        issues raised by the cross-claim shall be determined
        upon application for surplus money pursuant to R.
        4:64-3, unless the court otherwise directs.

        N.J. Ct. R. 4:64-5. (emphasis added)


  Chief Justice Jerome B. Simandle provided his interpretation of

  N.J.Ct. R. 4:64-5 in a 2015 decision in the case of Sarlo v.

  Wells Fargo Bank, N.A. 2015 U.S. Dist. LEXIS 36358 (D.N.J. March

  23, 2015) [Exhibit 2]



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         Plaintiffs' claims in this case are not germane within
         the meaning of Rule 4:64-5 and consequently are not
         barred by the entire controversy doctrine. The claims
         in this case — including breach of contract, negligent
         representation, breach of good faith and fair dealing,
         fraud, and slander of credit — arise entirely out of
         Defendant's alleged promise in 2009 to provide a loan
         modification.    By   contrast,     the    subject     of   the
         foreclosure    action    was    whether      Plaintiffs     had
         fulfilled their obligations under the 2003 mortgage
         contract. That question is separate from whether
         Defendant made a new loan offer in 2009 that
         Plaintiffs   accepted     and   relied      upon    to    their
         detriment. Although Plaintiffs' actions, in relying
         upon Defendant's promise of a loan modification,
         contributed    to    the     foreclosure,       "[a]     causal
         relationship between the two sets of claims is not
         conclusive under New Jersey Law" to bar litigation
         under the entire controversy doctrine. Fields v.
         Thompson Printing Co., Inc., 363 F.3d 259, 266 (3d
         Cir. 2004). Plaintiffs' claims in this suit — and the
         asserted damages arising out of the failure to provide
         a loan modification — have little to do with the
         enforceability    of    the    2003     mortgage     contract.
         Plaintiffs' claims are therefore not barred by the
         entire controversy doctrine.

         Id. at 15-16. (Emphasis added).

         Following Judge Simandle’s interpretation of the law, there

  is no question the Entire Controversy Doctrine does not apply to

  this   case.      In   Sarlo,   Judge   Simandle       reached   his    conclusion

  noting that prior to the filing of the district court lawsuit

  Wells Fargo filed a foreclosure action.                “On September 3, 2009,

  the    Superior   Court   of    entered      default   judgment    in    favor   of

  Defendant Wells Fargo.          The action is presently stayed in the

  Office of Foreclosure pending resolution of this case.”                    Id. At

  10.    For Ms. Gordon, the underlying foreclosure lawsuit is not


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  even pending before the Superior Court of New Jersey following

  the October 7 dismissal.                  The existence of the dismissal is even

  more    persuasive            that   application          of     the   entire      controversy

  doctrine cannot apply herein.                      There has been no final result

  ion of the state court action and even if Ms. Gordon wanted to

  assert      the    claims       before     this        court    in   the   foreclosure,       she

  could       not        seek    to    amend    that        pleading         since    the     state

  foreclosure action has been dismissed.



      III. PLAINTIFF’S COMPLAINT SETS FORTH A CLAIM FOR RELIEF FOR
           BREACH OF CONTRACT.

         To    plead        breach     of    contract        a     party     must    allege     the

  existence         of    an    offer,   acceptance,             consideration,      breach     and

  causally related damages.                    Weichert Co. Realtors v. Ryan, 128

  N.J. 427, 435 (1992); See also, Frederico v. Home Depot, 507

  F.3d 188, 203 (3d Cir. 2007)                      Plaintiff’s complaint sets forth

  sufficient facts as to each of the four defendants to establish

  a   breach        of    contract     claim    for       the     purposes     of    the    motions

  before the court.

      The Offer:

         In December 2009 BANA provide Plaintiff with a written HAMP

  trial period plan contract (hereinafter “HAMP TPP”).                                     [ECF Doc

  19 First Am Comp ¶58; Exhibit 4 to First Am Complaint ECF Doc

  19-1 p37-45]             The HAMP TPP contract required Plaintiff to make


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  three   payments   in   the   amount    of    $1,614.17,   to   make   certain

  representations and maintain them as true, and to waive certain

  legal rights.

     The Acceptance:

        Plaintiff accepted the HAMP TPP, signed the document and

  returned it to BANA in the manner and time required. [ECF Doc 19

  First Am Comp ¶61]       Plaintiff took all required steps to accept

  the HAMP TPP including the making of timely trial payments. [Id.

  ¶62-64]     At all relevant times Plaintiff’s representations as

  required by Section 1 of the HAMP TPP remained true in all

  material respects. Id. ¶92.            Plaintiff agreed to waive rights

  required by the HAMP TPP.

     The Consideration:

     As a condition of being provided the HAMP TPP, Plaintiff made

  a one time payment of $2,956.10 to BANA.             [ECF Doc 19 First Am

  Complaint ¶51-53        Thereafter in connection with the HAMP TPP

  Plaintiff provided monetary consideration to Defendant by making

  three payments of $1,614.17. [ECF Doc 19 First Am comp ¶64;

  Exhibits 5-7 to First Am Complaint ECF Doc 19-1 p47-53]                   When

  the trial period ended, Plaintiff continued to make additional

  payments in furtherance of the HAMP TPP.               In total Plaintiff

  paid $15,597.22 as consideration for the HAMP TPP.

     Plaintiff    tendered   additional       non-monetary   consideration   by

  making representations under oath and against risk under penalty

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  of    perjury.        The    representations             included     waivers       of        legal

  rights wherein Plaintiff was obligated to affirm “(i)I am either

  in    default    or   believe      I   will        be    in    default     under        the    Loan

  Documents in the near future, and (ii) I do not have sufficient

  income or access to sufficient liquid assets to make the monthly

  mortgage payments now or in the near future.” [ECF Doc 19-1 p43]

  Plaintiff also waived legal as consideration for the HAMP TPP by

  acknowledging the full force and effect of the original loan

  documents. Id. P45.

       During the period of time in which BANA continued to accept

  Plaintiff’s HAMP TPP, BANA upheld its pledged consideration by

  not     taking    steps      to    pursue      a        foreclosure        debt    collection

  lawsuit. [Id. P44]

       Consideration is a broad concept in New Jersey.                              In Block v.

  Seneca Mortg. Servicing 2016 U.S. Dist. LEXIS 150380 (D.N.J..

  Oct    31,   2016)     the    District        Court        determined        that       adequate

  consideration had been alleged by the plaintiff in a breach of

  trial modification case.               The facts of Block are similar to

  those    before    this      Court.     Block           made    a   down    payment,          trial

  payments, and waived rights in connection with entering into the

  trial modification agreement.                  The Court explained as to the

  waiver of rights that “Plaintiff’s forfeiture of such valuable

  legal     rights      can     be   sufficient             consideration           for     a    new



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  contract.” Id. At *23            See also In re Cent. R. Co. of N.J. 163

  F.2d 44, 51-52 (3d Cir. 1947).

     The Breach:

         The    complaint       alleges     that   Plaintiff      complied    with    all

  obligations under the HAMP TPP and Defendant did not comply with

  its obligations under the HAMP TPP.                  Plaintiff signed the HAMP

  TPP and returned it to BANA in the manner and time required.

  [ECF    Doc    19     ¶61]      During     all    relevant      times,   Plaintiff’s

  representations as made under Section 1 of the HAMP TPP remained

  true. Id. ¶62.             Plaintiff made each of the required monthly

  payments      under    the    HAMP   TPP    on    time    and   continued    to    make

  additional payments to Defendant.                  Id. ¶63-64, 67.          Plaintiff

  met each of the conditions of compliance with the HAMP TPP and

  her financial circumstances did not materially change during the

  period of the HAMP TPP. Id. ¶65                    Pursuant to the agreement,

  Plaintiff      was     entitled      to     a    permanent      modification       upon

  completion of the HAMP TPP.             The agreement states:

         If I comply with the requirements in Section 2 and my
         representations in Section 1 continue to be true in
         all material respects, the Servicer will send me a
         Modification Agreement for my signature which will
         modify my Loan Documents as necessary to reflect this
         new payment amount and waive any unpaid late charges
         associated with overdue loan payments remaining unpaid
         as of the date immediately before the modification.
         [ECF 19-2 p45 (emphasis added)]

         The    June    3,     20010   formal      denial   for    a   permanent     HAMP

  Modification issued by BANA constituted a breach of the HAMP TPP

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  agreement.      The June 3 letter denies Plaintiff for a permanent

  HAMP Modification based on an alleged “Excessive Forbearance”.

  The document states that Plaintiff is ineligible “because we are

  unable to create an affordable payment equal to 31% of your

  reported monthly gross income without changing the terms of your

  loan beyond the requirements of the program.” [ECF 19 ¶70; ECF

  19-1 p55]       “Excessive Forbearance” is not a basis for denying

  Plaintiff a permanent Modification under the terms of the HAMP

  TPP. [ECF 19 ¶72]          The June 3, 2010 letter constitutes a breach

  of the HAMP TPP. [ECF 19 ¶100] Defendant BANA breached the terms

  of the HAMP TPP contract when it wrongly denied Plaintiff a

  permanent modification.

         The Damages:

         As a result of BANA’s conduct Plaintiff suffered damages

  including payment of $15,597.22 provided in consideration for

  the HAMP TPP. [ECF 19 ¶67]             Plaintiff’s damages also include

  counsel fees, costs of suit, time lost from work communicating

  with BANA in an attempt to comply with the HAMP TPP and to

  enforce the HAMP TPP and right to a permanent modification, as

  well    as   damage   to    Plaintiff’s      credit   resulting   from      BANA’s

  breach. [ECF 19 ¶107]         New Jersey recognizes broad categories of

  damages on breach of contract claims involving mortgage loan

  modifications.        See Block v. Seneca Mortg. Servicing 2016 U.S.

  Dist.   LEXIS    150380     (D.N.J.   Oct    31,   2016);   Giordano   v.    Saxon

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  Mortg. Servs., Inc.,         2014 U.S. Dist. LEXIS 137703 (D.N.J. Sep

  29, 2014); Sarlo v. Wells Fargo Bank, N.A. 2015 U.S. Dist. LEXIS

  36358 (D.N.J. March 23, 2015).                 Given the wide support of case

  law, the Court should deny the Defendants’ motion and sustain

  the cause of action.



     IV.   PLAINTIFF’S COMPLAINT SETS FORTH A CLAIM FOR RELIEF FOR
           BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
           DEALING.

        Plaintiff      sets   forth   a   claim      for   Breach   of   the   implied

  covenant of good faith and fair dealing under Count III of the

  First    Amended     Complaint.     The        claim   explains   that   BANA    made

  misrepresentations to Plaintiff in bad faith that resulted in a

  breach    of   the   covenant.      The    allegations      in    part   state    the

  following:

        115.     BANA      made     methodical,     intentional
        misrepresentations which it knew would cause and
        result in financial damages to Plaintiff, Lauri
        Gordon.
        116. These misrepresentations constituted a breach of
        duty of good faith and fair dealing as to Note and
        Mortgage in which Plaintiff, requested or inquired
        about a HAMP modification.
        117. The misrepresentations induced Plaintiff to
        refrain from paying her mortgage payment, causing late
        fees and penalties under the Note and Mortgage.
        118. BANA then deposited $15,597.22 of Plaintiff’s
        money she was induced to pay as Trial Payments and
        applied those payments to late payment fees and
        additional   interest   Plaintiff   would  have   never
        incurred but for the misrepresentations by BANA.
        119. BANA deposited $15,597.22 of Plaintiff’s money
        but failed to timely apply the funds Plaintiff’s


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        account in accordance with the terms of the Note and
        Mortgage.
        …
        121. This breach [of] duty of good faith and fair
        dealing proximately caused damages to Plaintiff, Lauri
        Gordon.
        122. The wrongful actions of BANA were conducted on
        behalf of Fannie Mae.     As principal, Fannie Mae is
        liable for the wrongful conduct of BANA.
        123. The wrongful conduct described herein is non
        exhaustive and it is anticipated that additional
        wrongful conduct sounding in fraud will be uncovered
        during discovery.
        124. These damages to Plaintiff include but are not
        limited to the value of her time spent gathering and
        sending documents to BANA when the Bank had no
        intention of reviewing them, the cost of sending
        document to BANA when the Bank had no intention of
        reviewing them and the misapplication of funds paid to
        BANA late fees, penalties and interest.

        [ECF 19]


        Every contract in New Jersey is accompanied by an implied

  covenant of good faith and fair dealing.             Wood v. New Jersey

  Mfrs. Ins. Co.,206 N.J. 562 (N.J. 2011); Sons of Thunder, Inc.

  v. Borden, Inc. 148 N.J. 396 (N.J. 1997).                “Courts imply a

  covenant of good faith and fair dealing in order to protect one

  party to a contract from the other party’s bad faith misconduct

  or collusion with third parties where there is no breach of the

  express   terms   of   the   contract.”   Kapossy   v.   McGraw-Hill,   921

  F.Supp. 234 (N.J.D.C. 1996).        It is the purpose of the covenant

  of good faith and fair dealing to ensure that “neither party

  shall do anything which will have the effect of destroying or



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  injuring the other party to receive the fruits of the contract.”

  Wood v. New Jersey Mfrs. Inc. Co., 21 A.2d 1131, 1140 (NJ 2011).

        The alleged conduct of the Defendants establishes a claim

  for   breach    of      the    implied      covenant        of   good      faith    and    fair

  dealing.       Plaintiff has also satisfied the burden to allege a

  bad faith motive.             See Wilson v. Hess Corp., 773 A.1121, 1130

  (N.J.   App.    Div.      2001).        The    bad     faith     motive      for     BANA      is

  specified      by    Plaintiff       within        paragraphs       7-38    of     the    First

  Amended Complaint.             The motive was profit.                   As an agent for

  Fannie Mae, BANA induced Plaintiff to default on the mortgage

  loan under the false premise that loss mitigation options were

  only available upon default and that such options would be made

  available upon default.                When Plaintiff defaulted, BANA again

  induced    Plaintiff          to    enter    into    the     HAMP    TPP     without       ever

  intending      to    permanently         modify       the    loan.          Finally,       BANA

  wrongfully denied Plaintiff for the permanent loan modification

  by    issuing       a    denial        for     an      invalid       cause         “excessive

  forbearance.”        BANA     and    Fannie    Mae    together       then     when       ton   to

  prosecute a foreclosure action seeking to take Plaintiff’s home.

  The filing of the foreclosure was only possible after Plaintiff

  was induced to default on the loan and wrongfully denied for

  loss mitigation options.              Overall, Defendants deprived Plaintiff

  the right to receive the fruits of the contract and in the

  process Defendants violated the covenant of good faith and fair

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  dealing.      See Kalogeras v. 239 Broad Ave., LLC 202 N.J. 349

  (N.J. 2010).



     V.     PLAINTIFF’S COMPLAINT SETS FORTH A CLAIM FOR RELIEF FOR
            VIOLATION OF THE CONUSMER FRAUD ACT.

          Count IV of the complaint sets forth a claim for relief

  under the New Jersey Consumer Fraud Act N.J.S.A. §§ 56:8-1 et

  seq.     The CFA “provides a private cause of action to consumers

  who are victimized by fraudulent practices in the marketplace.”

  Gonzalez v. Wilshire Credit Corp., 207 N.J. 557, 576 (2011).

  Courts are instructed that the CFA is “applied broadly in order

  to accomplish its remedial purpose, namely, to root out consumer

  fraud.    Lemelledo    v.   Benefit    Mgmt.      Corp.,   150   N.J.   255,   264

  (1997).      To   establish   a   claim     for    relief   under   the   CFA   a

  Plaintiff must allege three elements: (1) unlawful conduct by

  the defendants, (2) an ascertainable loss on the part of the

  plaintiff, and (3) a causal nexus between the “method, act, or

  practice    declared   unlawful”      and   the    consumer’s    “ascertainable

  loss.” New Jersey Citizen Action v. Schering 367 N.J. Super. 8,

  12-13, 842 A.2d 174 (App. Div. 2003).                  The Complaint clearly

  sets forth facts to establish all three elements.

          The Consumer Fraud Act defines “unlawful practices as:

               [T]he use or employment by any person of any
               unconscionable commercial practice, deception,
               fraud,    false    pretense,   false   promise,
               misrepresentation, or the knowing, concealment,

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              suppression, or omission of any material fact
              with   intent     that    others     rely   upon   such
              concealment,     suppression      or    omission,    in
              connection with the sale or advertisement of any
              merchandise    or    real    estate,    or   with   the
              subsequent    performance      of    such   person   as
              aforesaid, whether or not any person has in fact
              been misled, deceived or damaged thereby.

        N.J.S.A. 56:8-2

        The relevant terms of art in the Consumer Fraud Act itself

  have been extensively litigated and thoroughly defined.

              The term ‘advertisement’ is defined, in relevant
              part, as ‘the attempt… to induce directly or
              indirectly any person to enter or not enter into
              any obligation or acquire any title or interest
              in any merchandise or to increase the consumption
              thereof or to make any loan. ’N.J.S.A. 56:8-1(a)

        Laughlin v. Bank of Am., N.A., 2014 U.S. Dist. LEXIS 79441,

        14 (D.N.J. June 11, 2014).

        The New Jersey Supreme Court has found that “collecting or

  enforcing    a   loan,   whether   by     the   lender   or   its   assignee,

  constitutes the ’subsequent performance’ of a loan, an activity

  falling within the coverage of the CFA.”             Gonzalez v. Wilshire

  Credit Corp., 207 N.J. 557, 577-8 (2011).

        In Gonzalez, the issue before the Court was whether a post

  judgment agreement to modify a loan was covered by the CFA.               The

  Court held that it was a covered transaction and noted that a

  modification of a loan constitutes a “stand-alone extension of

  credit”. Id. at 586          The Gonzalez Court went on to write a

  scathing opinion finding that “[l]ending institutions and their

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  servicing agents are not immune from the CFA; they cannot prey

  on the unsophisticated, those with no bargaining power, those

  bowed down by a foreclosure judgment and desperate to keep their

  homes under seemingly any circumstances.”         Id. at 584.

        Relying on Gonzalez, New Jersey’s District Courts have held

  that Trial Modification Agreements are covered by the CFA.                See

  Beals v. Bank of Am., N.A., 2011 U.S. Dist. LEXIS 128376, 47-50

  (D.N.J. Nov 4, 2011); Laughlin v. Bank of Am., N.A. 2014 U.S.

  Dist.   LEXIS   79441,   12-18   (D.N.J.   June   11,   2014);   Jubelt    v.

  United Mortg. Bankers. Ltd., 2015 U.S. Dist. LEXIS 84595 (D.N.J.

  June 30, 2015); Giordano v. Saxon Mortg. Servs., 2014 U.S. Dist.

  LEXIS 137703 (D.N.J. September 29, 2014).

        In Beals, the Court discussed Gonzalez and then wrote

              The Beals plaintiffs and Grullon had a mortgage
              with Bank of America, and after they fell behind
              on payments, the servicer negotiated with them
              regarding a modified payment plan.    Just as the
              post-judgment agreement was covered under the
              CFA, so too are the modifications here, which
              effectively operate as a subsequent performance
              on the original agreement. Therefore, plaintiffs
              have properly pleaded an ‘unlawful purpose’.

        Beals v. Bank of Am., N.A., 2011 U.S. Dist. LEXIS 128376,

  49-50 (D.N.J. Nov 4, 2011)

        More recently, in Laughlin the District Court of New Jersey

  held that “[t]he loan modification process, from negotiation to

  the signing of a permanent modification effectively operates as

  a subsequent performance on the original mortgage.” Laughlin v.

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  Bank of Am., N.A. 2014 U.S. Dist. LEXIS 79441, 17 (D.N.J. June

  11, 2014).        The law is clear and settled, trial modification

  agreements are covered by the CFA.

         Plaintiff’s      pleading    makes      clear    the   particularities       of

  BANA and Fannie Mae’s unlawful conduct giving rise tot eh CFA

  claim.        In or about September 2009 BANA acting on behalf of

  Fannie Mae, told Plaintiff she must default on the mortgage loan

  to become eligible for a permanent loan modification.                          [ECF 19

  ¶47]     Plaintiff relied upon the instruction of the BANA employee

  representative        and   defaulted     on    the    mortgage    loan   to    become

  eligible       for    the     permanent        modification.       [ECF    19      ¶48]

  Thereafter in December 2009, BANA acting on behalf of Fannie

  Mae, told Plaintiff by phone that she was required to make a

  one-time payment of $2,956.10 to be eligible for a HAMP TPP and

  permanent modification. [Id. ¶52]               Plaintiff made the payment of

  $2,956.10 twice after BANA falsely claimed to have not received

  the first check.            [Id. ¶53-57]        When Plaintiffs received the

  HAMP TPP, Plaintiffs complied with all terms of the agreement

  and    made    each    of   the    required      payments     in   the    amount    of

  $1,614.17 which were deposited by BANA.                       [Id. ¶61-68]        BANA

  denied Plaintiff for the permanent loan modification based upon

  “Excessive Forbearance” which is not a basis for denial pursuant

  to the HAMP TPP. Id. ¶70-72.              The complaint further articulates

  the unlawful conduct as follows:

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        132. The acts of BANA and Fannie Mae prohibited by the
        New Jersey Consumer Fraud Act include but are not
        limited to the following:
          a. BANA acting on behalf of Fannie Mae induced
          Plaintiff to default on the mortgage loan by
          promising that a loan modification would be made
          available once the loan was three months late, all
          with the intent of foreclosing on Plaintiff’s home
          regardless of the modification application.
          b. BANA and/or Fannie Mae deposited $15,597.22 of
          Plaintiff’s money but failed to apply the funds
          properly to Plaintiff’s account.
          c. BANA and/or Fannie Mae induced Plaintiff to enter
          into a Trial Loan Modification Agreement contract
          and make payments on the loan modification contract
          which were not properly credited to the account.
          BANA, acting on behalf of Fannie Mae, induced
          Plaintiff to make payments under the Trial loan
          Modification Agreement contract by falsely promising
          that upon completion the loan would be permanently
          modified.
          e.   BANA    instituted    a   scheme    to   avoid   its
          responsibilities under the HAMP Agreement and paid
          its    employees     incentives     to   make    material
          misrepresentations to borrowers to achieve this
          goal, all in an effort to increase the Bank’s
          profits;
          f.    BANA’s     methodical     scheme    of    dishonest
          representations to Plaintiff concerning the receipt
          of her HAMP loan modification application documents
          was a “deceptive” act within the meaning of the CFA
          as the misrepresentations were deliberate acts to
          mislead and did in fact mislead her;
          g.    BANA’s     methodical     scheme    of    dishonest
          representations to Plaintiff and other New Jersey
          residents concerning HAMP applications, the purpose
          of which was to deceive the Federal Government in
          order to increase the Bank’s profits was “deceptive”
          and in violation of the CFA;
          h. The acts of BANA complained of herein possess the
          tendency or capacity to mislead, or create the
          likelihood of deception;
          The acts of the Bank complained of herein violate
          public policy, amount to an inequitable assertion of
          its power and position, are immoral, unethical,
          oppressive,     unscrupulous,     and/or    substantially


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          injurious   to  Plaintiff  and   other  New   Jersey
          consumers; and
          The actions of BANA complained herein were committed
          willfully.

          [ECF 19]


        In    addition         to    being      tricked      into     paying     $15,597.22,

  Plaintiff       was    obligated       to     waive     material      rights      and    make

  certain admissions to Defendants in connection with the HAMP

  TPP. [ECF 19-1 p37-39]                 Specifically, under Section 1 of the

  HAMP TPP titled “My Representations”, Plaintiff was obligated to

  certify:

        I am unable to afford my mortgage payments for the
        reasons indicated in my Hardship Affidavit and as a
        result, (i) I am either in default or believe I will
        be in default under the Loan Documents in the near
        future, and (ii) I do not have sufficient income or
        access to sufficient liquid assets to make the monthly
        mortgage payments now or in the near future;

        [ECF 19-1 p37]

  Plaintiff       was    the    victim    of     an    act    of    consumer     fraud     when

  Defendants       induced          Plaintiff     to    pay     $15,597.22         and    waive

  material legal rights without providing Plaintiff the promised

  benefit    of    the    bargain       and    instead       moving    to   take    her    home

  through unconscionable means.

        The argument of the Defendants that Plaintiff has failed to

  plead an ascertainable loss must be rejected.                         The CFA requires

  the plaintiff to “demonstrate a loss attributable to conduct

  made unlawful by the NJCFA, which is quantifiable or measurable,

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  and not merely hypothetical or speculative.”                              Jubelt v. United

  Mortg. Bankers, Ltd. 2015 U.S. Dist. LEXIS 84595 (D.N.J. June

  30, 2015) Plaintiffs exceedingly satisfied the standard.

          Faced with a similar fact pattern, the Court in Giordano v.

  Saxon     Mortg.    Servs.,       2014    U.S.        Dist.       LEXIS    137703     (D.N.J.

  September 29, 2014) held

               Plaintiffs have alleged ascertainable loss as
               either (1) the difference between money spent to
               obtain   a    permanent   modification   and   the
               difference in value between their applied-for
               permanent modification and the value of the loan
               they have now, or (2) the difference in value
               between their applied-for permanent modification
               as of the Modification Date and the cost of
               payments   they   continued   to   make  once  the
               Modification Effective Date Passed.     To survive
               Rule 9(b), Plaintiffs need not plead the exact
               dollar amount of their loss. Instead plaintiffs
               must   provide    enough    specificity  to   give
               defendants notice of their possible damages. The
               allegations provide enough specificity to give
               Saxon notice of Plaintiff’s damages.

          Id. at 14-15 (internal citation omitted)

          In Jubelt v. United Mortg. Bankers, Ltd 2015 U.S. Dist.

  LEXIS    84595     (D.N.J.    June       30,        2015),    the    ascertainable          loss

  pleaded     by    the    plaintiff       consumer        was       even    more     vague    in

  Giordano    yet    upheld     as   sufficient           to    sustain      a    claim.      The

  Jubelt plaintiff merely alleged to have “suffered ascertainable

  losses included but not limited to service fees related to the

  refinanced       mortgage    to    which       Plaintiff          was     ineligible,      paid

  interest     on    the   refinance        mortgage           to    which       Plaintiff    was


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  ineligible,      any   and    all     costs        related      to   the   foreseeable

  refinancing, consequential damages, and cost of attorney fees.”

  Id. at 32.

        Here,    Plaintiff      has   provided           sufficient     specificity     to

  place   Defendants     on    notice    of        the   Plaintiff’s    damages.      The

  Complaint states:

        135. As a result of the unconscionable conduct by BANA
        and/or Fannie Mae, the Plaintiff has suffered injury
        including but not limited to ascertainable losses
        consisting of monetary loss in the form of late fees
        and interest caused by BANA’s misrepresentations,
        damage to credit score, loss of value of her time
        spent gathering and sending documents to BOA when the
        Bank had no intention of reviewing them, the cost of
        sending documents to BOA when the Bank had no
        intention of reviewing them and the misapplication of
        funds paid to BANA to late fees, penalties and
        interest.

        [ECF 19 ¶135]

  The   pleading    satisfies     the    standard           required   by    the   Courts.

  Recently,     District      Court   Judge         Freda    L.   Wolfson    provided    a

  detailed analysis of the ascertainable loss issue explaining:

        With respect to the second prong- ‘ascertainable
        loss’-   the   plaintiff   must    “demonstrate   a   loss
        attributable to conduct made unlawful by the [NJ]CFA,”
        which is “quantifiable or measurable,” and not merely
        “hypothetical”    or    “speculative.”     Thiedmann    v.
        Mercedes-Benz USA, LLC 183 N.J. 234, 246-52, 872 A.2d
        783 (2005).    However, plaintiffs “need not plead the
        exact   dollar   amount   of   their   loss.      Instead,
        plaintiffs must provide enough specificity to give
        defendants   notice    of    their   possible    damages.”
        Giordano, 214 WL 4897190, at *6 (internal citations
        omitted). The damages for Plaintiff’s NJCFA claim are
        the same as those set forth for the underlying breach


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        of contract claim.   It is plain that Defendants have
        been put on notice of Plaintiff’s claimed damages.”

        Block v. Seneca Mortg.                 Servicing,         2016    U.S.    Dist.
        LEXIS 150380 at *84


        Plaintiff has satisfied her burden by making clear within

  the      complaint       the     unlawful         conduct       of     the     Defendants,

  Plaintiff’s      ascertainable          loss,      and   the     causal       relationship

  between    the    two.         Accordingly,       the    Court       should    sustain    the

  Consumer Fraud Act claim against BANA and Fannie Mae and permit

  the case to proceed on the merits.



     VI.    PLAINTIFF’S COMPLAINT SETS FORTH A CLAIM FOR RELIEF FOR
            VIOLATION OF COMMON LAW FRAUD.

        Plaintiff’s        pleading    sets       forth     all    of    the     elements      to

  establish a claim for common law fraud.                         “The five elements of

  common    law    fraud    are:    (1)    a   material       misrepresentation           of   a

  presently existing or past fact; (2) knowledge or belief by the

  defendant of its falsity; (3) an intention that the other person

  rely on it; (4) reasonable reliance thereon by the other person;

  and (5) resulting damages.” Indian Brand Farms, Inc. v. Novartis

  Crop Prot., Inc., 617 F.3d 207, 210 (3d Cir. 2010) (quoting

  Gennari v. Weichert Co. Realtors, 148 N.J. 582, 610 (N.J. 1997).

        Contrary to Defendants’ argument, Plaintiff has set forth

  the requisite specificity to sustain a cause of action on a

  motion to dismiss.             For the sake of judicial economy, Plaintiff

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  directs the Court to review the misrepresentations of Defendants

  as explained in Section V of this brief addressing Plaintiff’s

  New Jersey Consumer Fraud Act Claim.

        Unlike    the    New    Jersey    Consumer       Fraud    Act,     a   claim   for

  common   law     fraud   requires       demonstrating          that    the   Defendant

  offender knew the statements made were false.                        Paragraphs 19-38

  of the complaint set forth the basis for BANA’s knowledge that

  the   statements      made     were    false     and   that     BANA    intended      for

  Plaintiff to rely upon them.               The pleading explains that BANA

  “chose   to    develop       methodical    business      practices       designed     to

  intentionally        prevent     scores         of   eligible        homeowners      from

  becoming      eligible   or     staying     eligible     for     a    permanent      HAMP

  modification.” [ECF 19 ¶22]               The complaint incorporates sworn

  testimony     from    BANA     employees        explaining     the     nature   of   the

  complex fraud.

        31. According to the June 5, 2013 Declaration of
        William E. Wilson, Jr., who worked for BANA in
        Charlotte, North Carolina from 2010 through 2012:
        …
         c. Bank of America instructed its employees to
         employ    a   common   strategy    of   delaying HAMP
         applications,    “claiming    that    documents  were
         incomplete or missing when they were not, or simply
         claiming the file was ‘under review’ when it was
         not.”    This delay tactic allowed BANA to falsely
         claim homeowners had not provided the required
         documentation hen in fact, the homeowner had sent in
         documents months earlier, often multiple times and
         had made payments under a Trial Payment Period plan,
         but had not gotten a permanent modification or even a
         decision regarding their modification.


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         d. Next, BANA regularly employed a procedure called
         a “blitz.” “Approximately twice a month, BANA ordered
         case managers and underwriters ‘clean out’ the
         backlog of HAMP applications by denying any file in
         which the financial documents were more than 60 days
         old. These included files in which the homeowner had
         provided all required financial documents and fully
         complied with the terms of a Trial Period Plan” and
         were entitled to a HAMP modification.
        ….
        32. According to the May 23, 2013 Declaration of
        former BANA Senior Collector of Loss Mitigation
        employee, Simon Gordon:
           a. Employees    were given     quotas    for   placing   a
           specific   number    of   accounts   into     foreclosure,
           including accounts in which the borrower fulfilled a
           HAMP Trial Period Plan. Employees who met the quota
           for placing “ten or more accounts into foreclosure
           in a given month received a $500 bonus. Bank of
           America also gave employees gift cards to retail
           stores like Target or Bed Bath and Beyond as rewards
           for placing accounts into foreclosure.”
           …
           c. “Employees who were caught admitting that BANA
           had   received    financial   documents    or   that   the
           borrower was actually entitled to a permanent loan
           modification were disciplined and often terminated
           without warning.”
        33. According to the May 15, 2013 Declaration of
        former BANA collection employee, Theresa Terrelonge:
           …
           b. BANA employees “were called into group meetings
           with our supervisors on a regular basis.               The
           information we received in group meetings showed me
           that Bank of America’s deliberate practice was to
           string   homeowners along      with   no    intention   of
           providing    permanent    modifications.         We   were
           instructed to inform every homeowner who called in
           that their file was “under review” – even where the
           computer system showed that the file had not been
           accessed in months or when the homeowner had been
           rejected for a modification.”
           …
           c. She “witnessed employees and managers change and
           falsify information in the systems of record, and
           remove documents from homeowners’ files to make the
           account appear ineligible for a loan modification.

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           This included falsifying electronic records so that
           the records would no longer show that the homeowner
           had sent in the required documents or had made
           required payments.    This was done so that the file
           could be closed, the homeowner’s effort to obtain a
           loan modification could be rejected, and the manager
           could meet Bank of America’s production goal for the
           given week or month.”

         BANA   told     Plaintiff    that       she    could       only   obtain   loss

  mitigation assistance if she first defaulted on the mortgage

  loan. [ECF 19 ¶47]            Plaintiff acted in reasonable reliance of

  the instructions from BANA and defaulted on the mortgage loan

  only after being told to do so by BANA.                     Id. ¶48-49.    BANA told

  Plaintiff falsely that the only way she could obtain a HAMP

  modification was to make an initial one-time down payment of

  $2,956.10. [ECF 19 ¶52]            Plaintiff acted in reliance of BANA’s

  instruction and sent BANA a check in the amount of $2,956.10.

  Id. ¶53.      BANA falsely claimed to have not received Plaintiff’s

  down payment of $2,956.10 and induced Plaintiff to send a second

  check   in    the    same    amount.      BANA       ultimately      deposited    both

  $2,956.10 checks.           Id. ¶55-57.        BANA then induced Plaintiff to

  send    additional      money    under     the       false    representation      that

  Plaintiff      was     being     considered           for     a     permanent     loan

  modification.        Plaintiff complied with all terms of the HAMP TPP

  and made all required payments.                BANA kept Plaintiff’s money and

  denied Plaintiff a permanent loan modification under an invalid

  basis that the loan had “excessive forbearance.” Id. ¶67-72.                       In


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  addition   to    this       summary   of     facts,   the     complaint    sets     forth

  specific dates and provides demonstrative support in the form of

  exhibits that place Defendants on notice of the precise facts

  giving rise to the fraud.

        As   to    damages,       the    Complaint       is     unequivocally        clear.

  Plaintiff’s          damages    include       the     costs       of    preparing    and

  delivering      the     HAMP    application         BANA    had    no    intention    of

  reviewing or approving.              The damages also include incurred fees

  and penalties following Plaintiff’s default on the mortgage loan

  which was induced by BANA’s false representations.                       Id. ¶85



      VII. PLAINTIFF’S COMPLAINT SETS FORTH A CLAIM FOR RELIEF FOR
           VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT IN
           COUNT V OF THE COMPLAINT.

        There are four elements to an FDCPA claim and Plaintiff has

  met the pleading burden of each element against each defendant.

  A   Plaintiff        must   allege    “(1)    [she]    is     a   consumer,   (2)    the

  defendant is a debt collector, (3) the defendant’s challenged

  practice involves an attempt to collect a ‘debt’ as the Act

  defines it, and (4) the defendant has violated a provision of

  the   FDCPA     in    attempting      to   collect    the     debt.”      Douglass    v.

  Convergent Outsourcing, 756 F.3d 299, 303 (3d Cir. 2014).                             In

  this case, Plaintiff has alleged all of these elements as to

  Seterus.      Accordingly, the motion to dismiss should be denied.



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         Congress enacted the FDCPA in 1977 “to eliminate abusive

  debt collection practices by debt collectors, to insure that

  those      debt   collectors       who    refrain          from    using     abusive    debt

  collection practices are not competitively disadvantaged, and to

  promote     consistent      State     action      to       protect   consumers       against

  debt collection abuses.”                 15 U.S.C. 1692(e).                Congress noted

  that such abusive debt collection practices contribute to the

  number of personal bankruptcies, marital instability, the loss

  of   jobs,    and      invasions    of    individual          privacy.        Douglass      v.

  Convergent Outsourcing, 765 F.3d 299 (3d Cir. 2014), citing 15

  U.S.C.     §1692(a);     see   also      Lesher       v.    Law    Offices    of    Mitchell

  N.Ka, P.C., 650 F.3d 993, 996 (3d Cir. 2011); Evankavitch v.

  Green Tree Servicing, LLC 2015 U.S. App. LEXIS 12024 (3d Cir.

  July 13, 2015).            It is against this backdrop that Plaintiff

  seeks relief before this Court.

         The Complaint satisfies the first element of the FDCPA by

  alleging that “Plaintiff is a consumer as that term is defined

  by   15    U.S.C.      §1692a(3)”.       [ECF    19    ¶139]         The   FDCPA     defines

  “consumer”        as    “any   natural      person          obligated        or    allegedly

  obligated to pay any debt.” 15 U.S.C. §1692a(3).                             The Complaint

  sets      forth   specific     facts      establishing            that   Plaintiff     is   a

  natural person under obligation to pay a debt.

         The Complaint satisfies the second element of the FDCPA by

  alleging Seterus is a debt collector. [ECF 19 ¶140]                                    As an

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  entity that became loan servicer in relation to the Plaintiff

  after the debt went into default, Seterus is a debt collector.

  Congress      defined       “debt   collector”       to       be   any    entity        “in   any

  business the principal purpose of which is the collection of any

  debts,     or    who    regularly      collects          or     attempts         to     collect,

  directly or indirectly, debts owed or due or asserted to be owed

  or due another.” 15 U.S.C. §1692a(6).

        The Court must consider in reviewing the Plaintiff’s claims

  for    violation       of    the    FDCPA,        that    such      claims        are     viewed

  objectively      from       the    perspective      of     the      least    sophisticated

  consumer.       Kaymark v. Bank of America, N.A. 783 F.3d 168, 174

  (3d Cir. 2015).          Using this standard, the Court is directed to

  inquire whether the allegedly false or misleading statement “has

  the potential to affect the decision-making process of the least

  sophisticated debtor; in other words, it must be material when

  viewed through the least sophisticated debtor’s eyes.”                                   Jensen

  v.    Pressler    &     Pressler      791    F.3d        413,      421    (3d     Cir.     2015)

  Furthermore, the “FDCPA is a strict liability statute to the

  extent   it     imposes      liability      without       proof      of     an    intentional

  violation.” Allen ex rel. Martin v. LaSalle Bank, N.A. 629 F.3d

  364, 368 (3d Cir. 2011)

        Seneca is alleged to have violated 15 U.S.C. §1692e which

  broadly prohibits the use of false, deceptive, and/or misleading

  statements in connection with the collection of a debt.                                       The

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  Complaint satisfies the third and fourth elements of pleading a

  claim for relief under the FDCPA against Seneca because “the

  defendant’s challenged practice involves an attempt to collect a

  ‘debt’ as the Act defines it, and … the defendant has violated a

  provision        of      the   FDCPA   in    attempting     to   collect      the    debt.”

  Douglass v. Convergent Outsourcing, 756 F.3d 299, 303 (3d Cir.

  2014)

         Plaintiff’s claim arises out of a letter dated February 18,

  2016 sent by Seneca to Plaintiff.                         [ECF 19-1 p77-85]              That

  letter      is      a    “communication”       defined     by    the   FDCPA       as    “the

  conveying of information regarding a debt directly or indirectly

  to any person through any medium.” 15 U.S.C. §1692a(2).                             Through

  use    of   a    communication,         Seneca     employed      the   use    of    “false,

  deceptive, or misleading representation or means in connection

  with    the      collection      of    any   debt”   in    violation     of    15       U.S.C.

  §1692e.

         Courts in the Third Circuit have routinely held mortgage

  loan statements and letters instructing a debtor how to make

  payment       are       debt   collection     communications.          See    Langley       v.

  Statebridge 2014 U.S. Dist. LEXIS 176266 (D.N.J. Dec. 16, 2014);

  Block v. Seneca Mortg. Servicing 2016 U.S. Dist. LEXIS 150380

  (D.N.J.. Oct 31, 2016) at *60-62.                    In Block, the District Court

  provides a thorough analysis of the law on this area.



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        The law of the Third Circuit concerning the monthly
        statements sent by Defendants, however is much more
        favorable to Plaintiff.        In McLaughlin v. Phelan
        Hallinan & Schmieg, LLP, the Third Circuit held that
        “a communication need not contain an explicit demand
        for payment to constitute debt collection activity.
        Indeed, communications that include discussions of the
        status of payment, offers of alternatives to default
        and requests for financial information may be part of
        a dialogue to facilitate satisfaction of the debt and
        hence can constitute debt collection activity.” 756
        F.3d 240, 245-46 (3d Cir. 2014), cert. denied, 135
        S.Ct. 487, 190 L. Ed. 2d 360 (2014).           The Court
        extended this definition to documents, which, inter
        alia, “provide [] an invoice-like presentation of the
        amount due.” Id. At 246. See also Simon, 732 F.3d at
        265-66 (“Nor can the [defendant’s] FDCPA claims be
        dismissed on the ground that the letter and notice
        were not ‘communications’ under the statute… We
        rejected [defendant’s] argument and noted that a
        communication’ need only convey information regarding
        a debt and is not limited to specific requests for
        payment.” (citations omitted)); Kaymark v. Bank of
        Am., N.A.    783 F.3d 168, 175 (3d Cir. 2015), cert
        denied sub nom. Udren Law Offices P.C. v. Kaymark, 136
        S.Ct.   794,   193   L.Ed.   2d   710  (2016)   (applying
        McLaughlin   to   find   FDCPA   applicability  where   a
        communication “plainly inform[ed] the reader of the
        specific amounts due for specific items as of a
        particular date, … [Defendant] also did not convey
        that the disputed fees were estimates or imprecise
        amounts. Thus pursuant to McLaughlin, the Foreclosure
        Complaint conceivably misrepresented the amount of the
        debt owed, forming a basis for violations of §1692e.

        Block v. Seneca Mortg. Servicing 2016 U.S. Dist. LEXIS
        150380 (D.N.J.. Oct 31, 2016) at *60-632


  If the Third Circuit Court of Appeals case law left any doubt as

  to whether the February 18 letter is covered by the FDCPA, the

  language    of   the   letter    eliminates    such    doubt.      Seterus

  specifically states in the letter “THIS COMMUNICATION IS FROM A


                                       42
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  DEBT COLLECTOR AS WE SOMETIEMS ACT AS A DEBT COLLECTOR.                      WE ARE

  ATTEMTPTING TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL

  BE USED FOR THAT PURPOSE.” [ECF 19 ¶148; ECF 19-1 p77]

        Here, Plaintiff Lauri Gordon alleges that the February 18,

  2016 letter from Seterus contains charges and demands payments

  for fees not owed on the loan.            Page 9 of the February 18 letter

  contains    a    demand   for    Plaintiff     to    pay   $390.00   for    property

  inspections      including      26   separate    inspections     that      allegedly

  occurred    on    April   9,    2015.   [ECF    19   ¶149-151;    ECF   19-1    p54]

  Objectively, claiming 26 separate inspections on a single day

  violates the Fair Debt Collection Practices Act as an abusive

  action, attempt to collet money not owed, or both.                           To the

  extent the billing is an “error” sufficient to satisfy 15 U.S.C.

  §1692k(c) that issue will have to be dealt with in discovery.

        Lastly, Plaintiff addresses the Defendant’s argument that

  because the February 18 communication was addressed to Plaintiff

  care of her attorneys, the communication is immune from FDCPA

  coverage 2.      Factually, the letter is addressed to Lauri Gordon

  which undermines Defendant’s argument.                     More importantly, the

  argument must be rejected because it contradicts Third Circuit

  case law.        There is a reason Defendant relies exclusively on

  cases from other Circuits.            In essence, Defendant argues that so

  2
    Plaintiff notes that had Seneca sent the communication directly
  to Plaintiff, Seneca would have been in violation of 15 U.S.C.
  §1692c.
                                           43
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  long as a communication is sent to a consumer’s attorney, the

  information within the letter can be false, deceptive and/or

  misleading    without    imposing     any   liability   on   the   collector.

  This makes no sense.

        Section 15 U.S.C. §1692a(2) does not limit the definition

  of communication to correspondence sent directly to the debtor,

  and neither does §1692e of the FDCPA.               In Kaymark, the Third

  Circuit Court of Appeals confirmed that a legal pleading meeting

  the definition of “communication” under the FDCPA is covered by

  15   U.S.C.   §1692e    to   the   extent   the   pleading   contains   false,

  deceptive, and/or misleading information.               Kaymark v. Bank of

  Am., N.A. 783 F.3d 168 (3d Cir. 2015).              The ruling makes clear

  that even communications directed at attorneys, and/or the Court

  rather than the consumer themselves, are covered by the FDCPA.

  Defendant’s argument in this regard must also be rejected.

                                     CONCLUSION

        Plaintiff has gone beyond the minimum standard in setting

  forth facts together with proofs to allege each count of the

  Complaint.     The Defendants’ motions are without any support in

  fact or law and the motions should be denied.



  Dated November 7, 2016                      /s/ Adam Deutsch
                                              Adam Deutsch, Esq.
                                              Denbeaux & Denbeaux
                                              Counsel for Plaintiff


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